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                          IN THE UNITED STATES BNAKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                               :                         Chapter 11
                                     :
BAY CIRCLE PROPERTIES, LLC, et al.,1 :                         Case No. 15-58440-wlh
                                     :                         (Jointly Administered)
      Debtors.                       :
_________________________________    :

           MOTION FOR ORDER AUTHORIZING SALE OF PROPERTY FREE AND
                  CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

         COMES NOW NRCT, LLC (“NRCT”), by and through undersigned counsel, and hereby

files this “Motion for Order Authorizing Sale of Property Free and Clear of Liens, Claims and

Encumbrances” (“Motion”). NRCT moves this Court for entry of an order pursuant to Sections

105(a) and 363 of Title 11 , of the Untied States Code (the “Bankruptcy Code”) and Rules 2002

and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) approving the

sale of approximately 18.9 acres of real property located in Gwinnett County, Georgia (“Property”)

to Century Communities of Georgia, LLC (“Purchaser”) free and clear of all liens, claims and

encumbrances for a purchase price of $2,490,000.00, subject to adjustment in the event eighty-

three (83) lots are not approved, pursuant to the Agreement for Purchase and Sale (“Contract”)

attached hereto and incorporated herein by reference as Exhibit “A.”

         In support of the Motion, NRCT shows the Court as follows:

         1.       This Court has jurisdiction over this Motion pursuant to 28 USC §§ 157 and 1334.

This matter is a core proceeding pursuant to 28 USC §157(b). Venue is proper before this Court

pursuant to 28 USC §§ 1408 and 1409.



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are Bay Circle Properties,
LLC (1578), DCT Systems Group, LLC (6978), Sugarloaf Center, LLC (2467), Nilhan Developers, LLC (6335),
and NRCT, LLC (1649).
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       2.       On May 4, 2015 (the “Petition Date”), NRCT filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code with the Clerk of this Court. NRCT continues its

business as a debtor in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

       3.       The Property is raw land.

       4.       NRCT does not believe that the Property is subject to any liens, claims or

encumbrances.

       5.       NRCT seeks authority to sell the Property to Purchaser pursuant to the Contract for

the price of $2,490,000.00, subject to adjustment of $30,000.00 price reduction for each lot less

than eighty-three (83).

       6.       NRCT seeks authority to pay, among other things transfer taxes and costs as set

forth in the Contract.

       7.       The Debtor proposes to enter into a Contract with provides for the sale of the

Property to the Purchaser.

       8.       The pertinent terms of the Contract and the resulting transaction are:

                Property:      18.9 acres of land in Gwinnett County, Georgia

                Purchaser:     Century Communities of Georgia, LLC

                Price:          $2,490,000.00, subject to any creditors, prorations or adjustments
                provided in the Contayct. In the event the Land Disturbance Permit yields less than
                83 lots, the purchase price shall be reduced by an amount equal to $30,000.00 times
                the difference equal to 83 lots minus the total number of lots allowed under the
                Land Disturbance Permit

                Contingent: Contract is contingent upon various items including, without
                limitation, rezoning

       9.       Pursuant to Bankruptcy Rule 2002(a)(2) and (c), NRCT is required to notify, inter

alia, creditors of a proposed sale of the assets outside the ordinary course of business. This Motion
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and an accompany Notice of Hearing will be served upon all creditors on or before December 7,

2018.

        10.    Courts afford a debtor substantial deference in formulating procedures for selling

assets. See, e.g., Official Committee of Subordinated Bondholders v Integrated Resources Inc. In

re Integrated Resources, Inc ). 147 B.R. 650,656-57 (S.D.N.Y. 1992); In re 995 Fifth Ave. Assoc."

L.P., 96 8.R.24,28 (Bankr S.D.N.Y. 1989).

        11.    The paramount goal for any proposed sale of the property of a bankruptcy estate is

to maximize the proceeds received by the estate. See, e.g., Four B. Com. v. Food Barn Stores, Inc.

(In re Food Barn Stores- Inc.) 107 B.R. 558, 564-65 (8th Cir. 1997) (in bankruptcy sales, a primary

objective of the Code [is] to enhance the value of the estate at hand"); Integrated Resources, 147

B.R. at 659 ("It is a well-established principle of bankruptcy law that the objective of bankruptcy

sales and the Debtors' duty with respect to such sales is to obtain the highest price or overall

greatest benefit possible for the estate.") (quoting In re Atlanta P E Prods., Inc. 99 B.R. 124,131

(Bankr. N.D. Ga. 1988)).

        12.    Section 363(b)(1) of the Bankruptcy Code provides that "[t]he trustee, after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate." A debtor in possession is given these rights by Section 1107(a) of the Bankruptcy Code.

Moreover, Section 105(a) of the Bankruptcy Code provides that the bankruptcy courts "may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of the

Bankruptcy Code]."

        13.    The proposed use, sale, or lease of property of the estate may be approved under

Bankruptcy Code Section 363(b) if it is supported by sound business justification. See Committee

of Equity Security Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir.
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1983); accord Stephens Indus. V. McClung,789F.2d386,389-90 (6th Cir. 1986). Moreover,

pursuant to Section 105 of the Bankruptcy Code, the Court has expansive equitable powers to

fashion any order or decree which is in the interests of preserving or protecting the value of a

debtor's assets, see, e.g., In re Chinichian, 784 F. 2d 1440, 1443 (9th Cir. 1986), such as structuring

an orderly sale process.

       14.     As set forth in this Motion, the Debtor believes that good cause exists to authorize

the sale of the Property on the terms prayed for in this Motion.

       15.     Pursuant to the Bankruptcy Rule 6004 and Section 363(f), the sale of the Property

to the Buyer will be free and clear of all liens, claims, interests and encumbrances. The purchase

price of no less than $2,490,000.00 represents the fair market value of the Property. to make the

proposed disbursements set forth in this Motion.

       16.     The Debtor does not require the Property in order to successfully reorganize in

bankruptcy.

                                              NOTICE

       17. Notice of this Motion will be given in accordance with Bankr. R.2002.
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        WHEREFORE, the Debtor requests that the Court enter an Order approving

the sale of the Property to Century Communities of Georgia, LLC, or its assignee pursuant

to a contract substantially in the form attached hereto as Exhibit "A' , free and clear of liens, claims

and encumbrances, granting the Debtor authority to execute and deliver any and all closing

documents, deeds, affidavits, closing statements, resolutions as may be necessary to consummate

the sale of the Property and to the Purchaser of any assignee

        Submitted this the 4th day of December, 2018.

                                                M. DENISE DOTSON, LLC

                                                 /s/
                                                M. Denise Dotson
        `                                       Georgia Bar No. 227230
                                                PO Box 435
                                                Avondale Estates, GA 30002
                                                (404) 210-0166
                                                denise@mddotsonlaw.com
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                              EXHIBIT “A” FOLLOWS
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                                            the property, cont’d.                                                             TOWNES AT SUGAR HILL | 18.9± ACRES l GWINNETT COUNTY, GA   11
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                                            Current Development Plan
                                            Southeastern Engineering, Inc. has laid out a design for the Property. Using a 24’ x 50’ townhouse product, the layout yielded 83 townhouses
                                            as shown below.
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                                  CERTIFICATE OF SERVICE

       I, M. Denise Dotson, certify that I caused a true and correct copy of the foregoing to be
served upon the parties listed below via first class United States mail in a properly addressed
envelope with sufficient postage affixed thereon.

Tom Dworschak
Office of United States Trustee
362 Russell Federal Building
75 Spring Street
Atlanta, GA 30303

       This the 4th day of December, 2018.

                                             M. DENISE DOTSON, LLC

                                              /s/
                                             M. Denise Dotson
       `                                     Georgia Bar No. 227230
                                             PO Box 435
                                             Avondale Estates, GA 30002
                                             (404) 210-0166
                                             denise@mddotsonlaw.com
